Case 4:22-cv-00042-SMR Document 10 Filed 09/19/22 Page 1lof5

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SEP ¥ 9 2022
CLERK U.S. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ) SOUTHERN DISTRICT OF IOWA
Respondent,

V. Criminal No. 4:22-cv-00042-SMR

ALBERT KELLY PRICE,
Petitioner.

FIRST MOTION FOR EXTENSION OF TIME TO REPLY TO UNITED STATES’
RESPONSE IN OPPOSITION TO VACATE SENTENCE UNDER 28 U.S.C. § 2255

COMES Defendant, ALBERT KELLY PRICE (Price”), appearing pro se, and files his
Motion for Extension of Time to Reply to United States” Response in Opposition to Defendant’ s
Motion to Vacate Sentence Under 28 U.S.C. § 2255, and would show as follows:

PRELIMINARY STATEMENT

As a preliminary matter, Price respectfully requests that the Court be mindful
that “a pro se complaint should be given liberal construction, we mean that if the
essence of an allegation is discernible ... then the district court should construe the
complaint in a way that permits the layperson’s claim to be considered within the
proper legal framework.” See Solomon v. Petray, 795 F.3d 777, 787 (8" Cir. 2015);
Estelle v. Gamble, 429 U.S. 97 (1976) (same); and Haines v. Kerner, 404 U.S. 519

(1972) (same).
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REASON FOR EXTENSION

The eighteen (18) page single spaced United States’ Response in Opposition to Defendant’s
Motion to Vacate Sentence Under 28 U.S.C. § 2255 (“USR”) was just received by Price through the
prison mail, which has become unreliable and sporadic. It ae take weeks to receive coresspondence.
Since the Covid/Delta Virus pandemic, the compound at FCI Pekin has had limited movement and
very limited access to the prison law library. Because of these limitations, Price needs more time to
research, prepare and perfect his Reply to the USR. Therefore, he seeks a thirty (30) day extension
of time, up to and including October 16, 2022, to complete his Reply.

WHEREFORE, premise considered, Price H88 that the Court grant this motion and extend

his deadline for filing his Reply, up to and including October 16,2022.

Respectfully submitted,

/

Dated: September 16 , 2022 h Lhe ey IZ ee ee
aa KELLY PRICE
REG. NO. 19084-030
FCI PEKIN
FEDERAL CORR. INSTITUTION
P.O. BOX 5000
PEKIN, IL 61555
Case 4:22-cv-00042-SMR Document 10 Filed 09/19/22 Page 3 of5

CERTIFICATE OF SERVICE

Thereby certify that on September 16, 2022, I mailed a true and correct copy of the above and
foregoing Motion for Extension of Time to Reply to United States’ Response in Opposition to
Defendant’s Motion to , Vacate Sentence Under 28 U.S.C. § 2255 postage prepaid, to Jason R.
Lawrence, Assistant United States Attorney, Suite 286, 110 East Court Avenue, Des Moines, lowa
50309. i

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ALBERT KELLY PRICE
Case 4:22-cv-00042-SMR Document 10 Filed 09/19/22 Page 4of5

ALBERT KELLY PRICE RECEIVED

REG. NO. 19084-030 SEP 1 9 2020
FCIPEKIN CLERK U.S. DISTRICT CoyRY
FEDERAL CORR. INSTITUTION SOUT HERN DISTRICT OF OM,
P.O. BOX 5000 "

PEKIN, IL 61555
September - (0, 2022

Mr. John S. Courter

Clerk of Court

U.S. District Court

Southern District of lowa
Central Division

123 East Walnut Street

Des Moines, IA 50309-2035

RE: United States v Price
Crim No. 4:22-cv-00042-SMR

Dear Mr. Courter:

Enclosed please find and accept for filing Movant’s First Motion for Extension
of Time to File Reply Vacate Sentence Under 28 U.S.C. § 2255. Please submit this motion
to the Court.

Thank you for your assistance in this matter.

Sincerely,

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ALBERT KELLY'|PRICE
Appearing Pro Se

Encl. as noted
    
 

    

 

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Mr. John S, Courter

Clerk of Court

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